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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOROTHY JEAN WILLIAMS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,              )       CR.NO. S-06-288-02-WBS
10                                          )
           PLAINTIFF,                       )       STIPULATION AND PROPOSED
11                                          )       ORDER RE: RELEASING BAIL BOND
           v.                               )       ON THETHPROPERTY LOCATED AT
12                                          )       7250 15 STREET AND TERMINATE
     DOROTHY JEAN WILLIAMS,                 )       DRUG TESTING CONDITION
13                                          )
           DEFENDANT.                       )
14                                          )
     ______________________________)
15
16         The Plaintiff, the United States of America, by and through its attorneys,
17   Assistant United States Attorney, Mr. Jason Hitt, and the defendant, Ms. Dorothy Jean
18   Williams, by and through her attorney, Mr. James R. Greiner, hereby agree and
19   stipulate to the following:
20                1. On June 29, 2006, a complaint was filed regarding the defendant,
21   Dorothy Jean Williams.
22                2. On June 29, 2006, the Magistrate Judge, after consideration, ordered
23   the deft released on a $200,000 secured bond and under the conditions as stated on the
24   record.
25                3. It appears from the docket that the defendant was released from
26   custody on July 6, 2006, after posting the bail bond and with conditions of release .
27   (See docket entries 4, 5, and 6).
28                                              1
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 1                4. An Indictment was returned on July 13, 2006, against both the
 2   defendant and co-defendant Reginald Bowers. The Indictment alleges in Count 1 a
 3   violation of Title 21 U.S.C. section 841(a)(1) (Possession with intent to distribute
 4   cocaine base); Count two a violation of Title 21 U.S.C. section 841(a)(1) Possession
 5   with intent to distribute Cocaine; Count three (against defendant only) a violation of
 6   Title 21 U.S.C. section 856(a)(2) Managing and controlling a place for the purpose of
 7   manufacturing, storing, and distributing Cocaine and Cocaine base.
 8                5. The defendant was arraigned on the Indictment on July 14, 2006,
 9   entering not guilty pleas and demanding a jury trial.
10                6. On December 19, 2006, the court appointed present counsel in place of
11   Mr. Steve Bauer.
12                7. A related case order was filed on December 21, 2006, regarding the
13   civil forfeiture action filed, Civ-S-06-02839-WBS.
14                8. The parties agree and stipulate that the Court may sign the Order
15   below releasing as bail bond in this case, the property located at 7244 15th Street,
16   Sacramento, California.
17                9. Pretrial services has no objection to the releasing of the property
18   located at 7244 15th Street, Sacramento, California, 95822.
19                10. On June 25, 2007, Docket number 32, this Court signed the
20   stipulation and agreement of the parties to release a piece of property located at 7250
21   15th Street, Sacramento, California, 95822.
22                11. As one of the conditions of Pre-Trial release the defendant, Dorothy
23   Williams has been on drug testing conditions. For almost 6 (six) years (the complaint
24   was filed on June 29, 2006, See Docket entry #1), the defendant has continually drug
25   tested, without either missing a test or NEVER testing positive. Based on this almost 6
26   (six) year history of all negative testing, the parties agree and stipulate that the
27   condition of drug testing for defendant Dorothy Williams can be terminated by the
28                                                 2
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 1   Court.
 2            Pre-Trial has been provided a copy of this Stipulation and Proposed Order, and
 3   Pre-Trial has no objection to either modification to the conditions of release of
 4   defendant Dorothy Williams as stated herein.
 5                                     BENJAMIN B. WAGNER
                                       UNITED STATES ATTORNEY
 6
                                       /s/ JASON HITT by e mail authorization
 7
     DATED: 5-1-12                     _____________________________________
 8                                     JASON HITT
                                       ASSISTANT UNITED STATES ATTORNEY
 9                                     ATTORNEYS FOR THE PLAINTIFF
10
                                       /s/ JAMES R. GREINER
11   DATED: 5-1-12                     _____________________________________
                                       JAMES R. GREINER
12                                     ATTORNEY FOR DEFENDANT
                                       DOROTHY JEAN WILLIAMS
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 1                                           ORDER
 2
 3         FOR GOOD CAUSE SHOWING,
 4         The Court, after full review of the agreements and stipulations of the parties and
 5   the case file, and for the reasons stated herein by the parties and not objected to by
 6   Pre-Trial Services, adopts the parties agreements and Stipulations as follows:
 7
 8                1- Pre-Trial Services is Ordered to release as bail bond in this case, the
 9   property located at 7244 15th Street, Sacramento, California. And the Clerk of this
10   Court is Ordered to release and exonerate the property bond containing the property
11   located at 7244 15th Street, Sacramento, California and to return said property bond to
12   the defendant herein by mailing said exoneration and property bond to: Dorothy
13   Williams, 7250 15th Street, Sacramento, California, 95822.
14
15                2-Upon receipt of a copy of this Order, Pre-Trial Services is Ordered to
16   terminate the drug testing condition of pre-trial release regarding the Defendant
17   Dorothy Williams.
18
19                IT IS SO ORDERED.
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     DATED: May 1, 2012
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